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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 14-CIV-62262-BLOOM/Valle

  NATIONAL UNION FIRE INSURANCE
  COMPANY OF PITTSBURGH, PA and
  COEX COFFEE INTERNATIONAL,

             Plaintiffs,

  v.

  ALL AMERICAN FREIGHT, INC.,
  HARTLEY FREIGHT LINES, LLC, and
  HARTLEY TRANSPORTATION, LLC,

        Defendants.
 _____________________________________________/

       HARTLEY FREIGHT LINES, LLC AND HARTLEY TRANSPORTATION, LLC’S
             MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11

            COMES NOW, Defendants, Hartley Freight Lines, LLC (hereinafter “HFL”) and Hartley

 Transportation, LLC (hereinafter “HT”), pursuant to Federal Rule of Civil Procedure 11(c), by and

 through its undersigned counsel, and submits this, its Motion for Sanctions against Janssen &

 Siracusa, P.A. and states as follows:

       I.      Introduction.

            This lawsuit arises out of an alleged breach of contract between Plaintiff, Coex Coffee, and

 HT. HT is a licensed broker that arranges for the transportation of cargo. As a broker, HT would

 select the motor carrier to transport freight on behalf of its customers. In this instance, HT selected

 All American Freight, Inc. (hereinafter “AAF”), which is also a defendant in this action.

            Defendant HFL is a motor carrier. Although it is affiliated with HT, HFL is a separate,

 legally distinct entity. In fact, HFL maintains a separate operating authority with the Federal Motor




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 Carrier Safety Administration. Thus, the Federal Government recognizes that HFL is a distinct

 legal entity, and has granted a license to HFL to operate motor carriers in interstate commerce. 1

           Plaintiffs have also named HFL as a defendant motor carrier, despite HFL having

 absolutely nothing to do with the transaction or the carriage of the cargo.

           HFL is not a party to any alleged agreement, nor is it mentioned anywhere on the delivery

 order, shipping document, or Broker/Carrier Agreement that Plaintiffs attach to their Amended

 Complaint [D.E. 34]. Thus, there is no factual or legal basis to hold HFL liable for any alleged

 breach by HT.

     II.      Procedural Background.

           On February 5, 2015, HFL and HT filed their motion to dismiss, arguing that it is unclear

 whether Plaintiffs are bringing state law claims, or a cause of action under the Carmack

 Amendment, which would preempt any state law claims. HFL and HT also argued that the

 Complaint appeared to bring claims pursuant to the Carmack Amendment, which would be

 inapplicable against HFL as a transportation broker, as alleged by Plaintiffs in the Amended

 Complaint.

           On March 13, 2015, the Court granted Defendants’ Motion to Dismiss [D.E. 32]. In the

 Order, the Court held that “it is unclear whether Plaintiffs bring their action pursuant to a breach

 of contract or for violations of the Carmack Amendment….Plaintiffs must clearly set forth the

 respective causes of action.”

           The Court also held that “to the extent Plaintiffs seek to hold Hartley Transportation liable

 under the Carmack Amendment, such claims must fail, or alternatively, Plaintiffs are obligated to



 1
   See Exhibit A attached. By way of comparison, HT is licensed by the FMCSA solely as a transportation broker.
 See Exhibit B attached.

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 allege the relationship between Hartley Transportation and Hartley Freight that would allow

 Hartley to be held liable.” The Court went on to note that “the Complaint lacks any allegations

 with respect to Hartley Transport’s true nature, but instead simply commingles Hartley Freight

 and Hartley Transportation through a series of “and/or” accusations.” The Court held that

 “Although they share a root name, Hartley Transport and Hartley Freight remain distinct artificial

 entities.”

         Plaintiffs ignored the Court’s Order, however, and filed their Amended Complaint which

 failed to adequately allege the relationship between Hartley Transportation and Hartley Freight

 that would allow Hartley to be held liable. Specifically, Plaintiffs again allege that HFL is a motor

 carrier and that HT is a transportation broker. Plaintiffs then go on to acknowledge that the two

 companies are “separate legal entities”, but are owned by the same individuals, share the same

 business address, employ the same people, share the same contact information, and share the same

 website.     As such, Plaintiffs conclude, without any authority or factual basis, that Defendants

 acted in concert with respect to the carriage of the goods. In support, Plaintiffs attached excerpts

 from HT’s website, claiming that such somehow evidences an alter-ego relationship which is not

 adequately plead in the Amended Complaint.

         As such, Plaintiffs’ counsel filed its Amended Complaint with an improper purpose to

 harass, cause unnecessary delay, and needlessly increase the cost of litigation against Defendants,

 warranting sanctions under Federal Rule of Civil Procedure 11. Defendants had no choice but to

 file their Motion to Dismiss the Amended Complaint. [D.E. 37]. In their Response, Plaintiffs

 attempt, but fail, to correct the deficiencies in their Amended Complaint.

         Further, Plaintiffs have served upon Defendants a Rule 11 letter and motion, claiming that

 Defendants’ Motion to Dismiss the baseless claims asserted by Plaintiffs is somehow frivolous.


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    III.      Legal Standard.

           Fed. R. Civ. P. 11 (b) provides:

           (b) REPRESENTATIONS     TO THE     COURT. By presenting to the court a pleading, written

           motion, or other paper—whether by signing, filing, submitting, or later advocating it—an

           attorney or unrepresented party certifies that to the best of the person's knowledge,

           information, and belief, formed after an inquiry reasonable under the circumstances:

                  (1) it is not being presented for any improper purpose, such as to harass, cause

                  unnecessary delay, or needlessly increase the cost of litigation;

                  (2) the claims, defenses, and other legal contentions are warranted by existing law

                  or by a nonfrivolous argument for extending, modifying, or reversing existing law

                  or for establishing new law;

                  (3) the factual contentions have evidentiary support or, if specifically so identified,

                  will likely have evidentiary support after a reasonable opportunity for further

                  investigation or discovery; and

                  (4) the denials of factual contentions are warranted on the evidence or, if

                  specifically so identified, are reasonably based on belief or a lack of information.

           (c) SANCTIONS.

                  (1) In General. If, after notice and a reasonable opportunity to respond, the court

                  determines that Rule 11(b) has been violated, the court may impose an appropriate

                  sanction on any attorney, law firm, or party that violated the rule or is responsible

                  for the violation. Absent exceptional circumstances, a law firm must be held jointly

                  responsible for a violation committed by its partner, associate, or employee.




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                 (2) Motion for Sanctions. A motion for sanctions must be made separately from any

                 other motion and must describe the specific conduct that allegedly violates Rule

                 11(b). The motion must be served under Rule 5, but it must not be filed or be

                 presented to the court if the challenged paper, claim, defense, contention, or denial

                 is withdrawn or appropriately corrected within 21 days after service or within

                 another time the court sets. If warranted, the court may award to the prevailing party

                 the reasonable expenses, including attorney's fees, incurred for the motion.

                 (3) On the Court's Initiative. On its own, the court may order an attorney, law firm,

                 or party to show cause why conduct specifically described in the order has not

                 violated Rule 11(b).

                 (4) Nature of a Sanction. A sanction imposed under this rule must be limited to

                 what suffices to deter repetition of the conduct or comparable conduct by others

                 similarly situated. The sanction may include nonmonetary directives; an order to

                 pay a penalty into court; or, if imposed on motion and warranted for effective

                 deterrence, an order directing payment to the movant of part or all of the reasonable

                 attorney's fees and other expenses directly resulting from the violation.

    IV.      Discussion.

          Plaintiffs have absolutely no good faith basis to bring any claim against HFL. Plaintiffs

 retained HT to arrange for the transport of Plaintiffs’ cargo. Plaintiffs brought suit against HT as

 a transportation broker. Plaintiffs also brought suit against AAF – the motor carrier selected by

 HT to transport the cargo. Plaintiffs are therefore fully aware of the roles played by all entities

 involved in this transport – HT to select the motor carrier, and AAF to transport the cargo. What

 role did HFL play? Plaintiffs are well aware that HFL had no responsibility in this action. If


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 Plaintiffs did not know at the time they filed the original complaint, they certainly do by now. Yet,

 Plaintiffs filed their Amended Complaint, asserting the same baseless claims against HFL – now

 arguing that HFL and HT are the same entity. The Court, however, has already rejected this

 contention in its Order granting Defendants Motion to Dismiss. [D.E. 32].

        Undaunted, Plaintiffs have gone far afield from the four corners of the Complaint, and have

 now included in their Opposition to the Motion to Dismiss an affidavit from their own employee,

 swearing that they don’t know the difference between HFL and HT. Plaintiffs also attach

 screenshots from HT’s website, claiming somehow that these screenshots “prove” that HFL and

 HT are the same entity.

        Yet, the website only “proves” that HT at times will utilize HFL as an asset-based carrier.

 Plaintiffs allege that the website “shows” that HFL and HT share employees. It doesn’t. Plaintiffs

 allege that the website “shows” that HFL and HT have the same owners. It doesn’t. Plaintiffs

 allege that the website “shows” that HFL and HT share the same business address. It doesn’t.

        Plaintiffs allege that the delivery order that it issued, directing “Hartley” to transport the

 cargo, somehow imposes alter-ego liability on both entities. Plaintiffs do not, and cannot, provide

 any support for this legal contention.

        Plaintiffs provide a shipping receipt – prepared by Colmar Storage, Plaintiffs’ customer

 and warehouse – which references HT as carrier and which somehow imposes alter-ego liability

 on HFT, despite nowhere being named on the shipping receipt.

        Plaintiff also provide an unsigned broker/carrier agreement, purportedly entered into

 between HT and AAF. This agreement is signed by HT as “broker”. It is unsigned by AAF, as

 carrier. Yet, Plaintiff somehow maintains that this agreement not only imposes carrier liability on

 HT, but somehow makes HFL liable for the transport it had nothing to do with.


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        Despite all of this “evidence” or lack thereof, despite the FMCSA and this Court already

 holding that HT and HFL are distinct legal entities, Plaintiffs nevertheless persist in maintaining

 this action against HFL. Plaintiffs continue to assert, without any legal or factual basis whatsoever,

 that HT and HFL are one and the same entity responsible for the transportation of Plaintiffs’ cargo.

        Plaintiffs’ claims further lack any legal merit with respect to HFL. Plaintiffs do not even

 plead “alter ego” in their Amended Complaint. HFL is not a party to any agreement between HT

 and Coex, nor has ever been hired by Coex, nor conducted business in Florida. HFL cannot be

 found liable for breach of the agreement with HT because HFL is not a party to the agreement.

 HFL cannot be held responsible for the most basic reason that HFL did not have any business

 transactions with Plaintiffs. Plaintiffs fail to allege the necessary elements for alter ego and even

 if they did, there is no legal merit because HFL and HT are separate legal entities and HFL is not

 the mere instrumentality of HT. See Johnson Enterprises of Jacksonville, Inc. v. FPL Group, Inc.,

 162 F.3d 1290, 1320 (11th Cir. 1998).

        The Amended Complaint as alleged prevents these issues from being properly evaluated,

 and prevent HT and HFL from being able to frame a proper response thereto. Plaintiff filed a

 nearly identical amended complaint that fails to correct any of the causes of action as ordered by

 this Court. By filing the Amended Complaint, Plaintiffs have caused unnecessary delay and

 needlessly increased the cost of litigation. This is not an instance of discovery telling the tale

 because this a threshold matter involving whether the claims can state a cause of action.

        This Court has awarded sanctions where plaintiffs failed to correct factual

 misrepresentations and filed a near identical amended complaint. Maale v. Kirchgessner, 2011 WL

 743040 (S.D. Fla. Feb. 24).           There, plaintiff failed to withdraw or correct factual

 misrepresentations that served as the basis for the Judge’s report. Id. at 4. Plaintiff continued to


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 assert the same factual misrepresentation in the Fourth Amended Complaint as a driving force to

 keep the litigation going for years and at a great expense. Id. The Court found that such statements

 represented intentional and repeated efforts by plaintiff to mislead the Court. Id. Here, Plaintiffs

 plead the same facts and the same causes of actions in their Amended Complaint as pled in the

 original complaint. Thus, Plaintiffs fail to correct any of the causes of action as ordered by the

 Court.

          In addition, counsel for plaintiffs have served their own Rule 11 Motion, asserting that

 Defendants’ Motion to Dismiss the Amended Complaint is somehow frivolous. Plaintiffs’ own

 proposed Rule 11 Motion, however, is without basis, as it is clear that Plaintiffs have asserted, and

 continue to assert, baseless claims against HFL. Plaintiffs, and their counsel, have made no good

 faith effort with regard to their claims asserted in this matter. Their careless preparation of their

 claim has necessitated the motion practice at issue in their proposed motion.

          Even worse, Plaintiffs, in their Opposition Memorandum to Defendants’ Motion to

 Dismiss the Amended Complaint, actually advise the Court that they have served a Rule 11 Motion

 for Sanctions against Defendants. This is not only inappropriate, but improper.

     V.      Conclusion.

          Based upon the foregoing, sanctions under Rule 11 are warranted for bringing claims

 lacking both legal and factual support. Hartley Freight Lines, LLC and Hartley Transportation,

 LLC request that, in addition to any sanctions imposed by the Court, that it be awarded its

 attorney’s fees incurred in responding to the Amended Complaint, and preparation of the instant

 request for relief as against Plaintiffs and their attorneys, jointly and severally.

 Dated: February 17, 2016
                                                         Respectfully submitted,

                                                         SPECTOR RUBIN, P.A.

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